JS 44 (Rev. 10/20)                   Case 2:21-cv-02066-WB
                                                       CIVILDocument
                                                             COVER1SHEET
                                                                     Filed 05/05/21 Page 1 of 29
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
                                                                                                               Yards Brewing Company, LLC
    Gina Vasoli                                                                                                Trevor Prichett
    (b)   County of Residence of First Listed Plaintiff                Philadelphia                            County of Residence of First Listed Defendant              Philadelphia
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                      Attorneys (If Known)
Caren N. Gurmankin, Esq., Console Mattiacci Law,
1525 Locust Street, 9th Fl., Philadelphia, PA 19102

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                           of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                      Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                     400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                 820 Copyrights                   430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                               830 Patent                       450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                      New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                       840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights            Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖   442 Employment                    510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                          Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment                    Other:                        462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                             Other                         550 Civil Rights                  Actions                                                                State Statutes
                                         448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                  (specify)                 Transfer                          Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             42 U.S.C. §2000e, et seq.
VI. CAUSE OF ACTION                          Brief description of cause:
                                                                               Plaintiff was discriminated against based on her pregnancy.
VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                            in excess of $75,000                           JURY DEMAND:                X   Yes           No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
05/05/2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                           MAG. JUDGE
                              Case 2:21-cv-02066-WB
                                                UNITEDDocument   1 Filed
                                                       STATES DISTRICT    05/05/21 Page 2 of 29
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                                        Philadelphia, PA 19128
Address of Plaintiff: ______________________________________________________________________________________________
                                        500 Spring Garden Street, Philadelphia, PA 19123
Address of Defendant: ____________________________________________________________________________________________
                                                      500 Spring Garden Street, Philadelphia, PA 19123
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      05/05/2021
DATE: __________________________________                     __________________________________________
                                                                     ___
                                                                      ____
                                                                      ____
                                                                        ____________
                                                                        __        ___________________                                      205900
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / P
                                                                                           Pro
                                                                                             ro Se Plaintiff                                  Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

           Caren N. Gurmankin
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
      X       exceed the sum of $150,000.00 exclusive of interest and costs:

      X       Relief other than monetary damages is sought.


      05/05/2021
DATE: __________________________________                     __________________________________________
                                                                     ____
                                                                       _______________
                                                                       ___          _________________                                      205900
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law
                                                                                       w/P
                                                                                         Pro
                                                                                           ro Se Plaintiff                                Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM
  GINA VASOLI                                     :                          CIVIL ACTION
                                                  :
                       v.                         :
                                                  :
   YARDS BREWING COMPANY, LLC, et al.             :                          NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   ( X)


05/05/2021                                                          Plaintiff, Gina Vasoli
Date                               Attorney-at-law                       Attorney for
 215-545-7676                   215-405-2900                          gurmankin@consolelaw.com

Telephone                           FAX Number                           E-Mail Address


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               IN THE UNITED STATES DISTRICT COURT FOR
                THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________
                                     :
GINA VASOLI                          :
Philadelphia, PA 19128               :
                                     :  CIVIL ACTION NO.
                         Plaintiff,  :
                                     :
        v.                           :
                                     :
YARDS BREWING COMPANY, LLC :
500 Spring Garden Street             :
Philadelphia, PA 19123               :
                                     :
and                                  :
                                     :
TREVOR PRICHETT                      :
500 Spring Garden Street             :
Philadelphia, PA 19123               :
                                     :  JURY TRIAL DEMANDED
                                     :
                         Defendants. :
________________________________     :

                                      COMPLAINT

I.     INTRODUCTION

       Plaintiff, Gina Vasoli, brings this action against her former employer, Yards

Brewing Company, LLC (“Corporate Defendant”). Corporate Defendant terminated

Plaintiff within just about two (2) months after learning that she was pregnant, after she

demonstrated undisputedly excellent performance over six (6) years of employment.

       Corporate Defendant engaged in discriminatory and retaliatory conduct towards

Plaintiff in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

§ 2000e, et seq. (“Title VII”), the Pennsylvania Human Relations Act, as amended, 43

P.S. § 951, et seq. (“PHRA”), and the Philadelphia Fair Practices Ordinance, as amended,

Phila. Code § 9-1100, et seq. (“PFPO”). Defendant's Chief Executive Officer, Trevor
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Prichett (“Defendant Prichett”), aided and abetted the commission of Corporate

Defendant’s discriminatory and retaliatory conduct towards Plaintiff.

II.    PARTIES

       1.      Plaintiff, Gina Vasoli, is an individual and a citizen of the

Commonwealth of Pennsylvania.

       2.      Plaintiff is female.

       3.      Corporate Defendant, Yards Brewing Company, LLC, is incorporated in

Pennsylvania, and has a principal place of business at 500 Spring Garden Street,

Philadelphia, PA 19123.

       4.      Defendant Prichett, is an adult male and the CEO of Defendant.

       5.      Corporate Defendant is engaged in an industry affecting interstate

commerce and regularly does business in the Commonwealth of Pennsylvania.

       6.      At all times material hereto, Corporate Defendant employed more than

fifteen (15) employees.

       7.      At all times material hereto, Corporate Defendant acted by and through

their authorized agents, servants, workmen, and/or employees acting within the course

and scope of their employment with Corporate Defendant and in furtherance of Corporate

Defendant’s business.

       8.      At all times material hereto, Corporate Defendant acted as an employer

within the meaning of the statutes which form the basis of this matter.

       9.      At all times material hereto, Plaintiff was an employee of Corporate

Defendant within the meaning of the statutes which form the basis of this matter.




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III.   JURISDICTION AND VENUE

       10.     The causes of action which form the basis of this matter arise under Title

VII, the PHRA, and the PFPO.

       11.     The District Court has jurisdiction over Count I (Title VII) pursuant to 42

U.S.C. § 2000e-5 and 28 U.S.C. § 1331.

       12.     The District Court has supplemental jurisdiction over Count II and Count

III (PHRA) pursuant to 28 U.S.C. § 1367.

       13.     The District Court has supplemental jurisdiction over Count IV and Count

V (PFPO) pursuant to 28 U.S.C. §1367.

       14.     Venue is proper in the District Court under 28 U.S.C. §1391(b) and 42

U.S.C. § 2000(e)-5(f).

       15.     On or about October 3, 2019, Plaintiff filed a Complaint of Discrimination

with the Pennsylvania Human Relations Commission (“PHRC”), complaining of acts of

discrimination and retaliation alleged herein. This Complaint was cross-filed with the

Equal Employment Opportunity Commission (“EEOC”). Attached hereto, incorporated

herein, and marked as Exhibit “1” is a true and correct copy of the EEOC Charge of

Discrimination (with personal identifying information redacted).

       16.     On or about February 8, 2021, the EEOC issued to Plaintiff a Notice of

Right to Sue for her Complaint of Discrimination. Attached hereto, incorporated herein,

and marked as Exhibit “2” is a true and correct copy of the Notice of Right to Sue (with

personal identifying information redacted).

       17.     Plaintiff has fully complied with all administrative prerequisites for the

commencement of this action.




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IV.     FACTUAL ALLEGATIONS

        18.    Plaintiff began working at Corporate Defendant on or about February 1,

2013.

        19.    At all times material hereto, Plaintiff consistently demonstrated excellent

performance throughout her employment with Corporate Defendant. By way of example

only, Corporate Defendant gave Plaintiff a positive performance review on or about

March 25, 2019 and, as a result of the same, on or about May 10, 2019, a salary increase,

effective later that month.

        20.    As of the time that Defendants terminated Plaintiff’s employment, in

September 2019, she held the position of Communications and Marketing Manager. Also

as of that time, Plaintiff reported directly to Christopher Hancq (male), Business

Development Manager. Hancq reported to Defendant Prichett (male), CEO who, in turn,

reported to Thomas Kehoe (male), Owner.

        21.    On or about June 27, 2019, Plaintiff informed Defendant Prichett that she

was pregnant and due in early January 2020.

        22.    Plaintiff informed Hancq of her pregnancy on or about July 8, 2019.

        23.    On or about July 9, 2019, Plaintiff told Hancq and Defendant Prichett that

she was looking for recognition of her efforts and leadership in the Marketing

Department over the years, given her skills, employment and performance history, and

the fact that she had been overseeing Marketing operations since Corporate Defendant

terminated the (male) head of Marketing over two (2) weeks earlier.

        24.    Defendants did not respond to Plaintiff’s request for advancement or

recognition within the company.




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          25.   On or about July 11, 2019, Defendants announced that Hancq would be

managing the Marketing Department.

          26.   Plaintiff began reporting directly to Hancq once Defendants placed him in

the position as head of the Marketing Department.

          27.   After Plaintiff informed Defendants that she was pregnant, Defendants

began treating her in a hostile and dismissive manner.

          28.   Defendants’ discriminatory treatment towards Plaintiff included, but was

not limited to, that which is set forth below.

          29.   Defendants removed from Plaintiff’s responsibility certain of her job

duties.

          30.   Defendants told Plaintiff to stop handling marketing project management

duties, which included managing projects’ status, deadlines, personnel assignments,

vendor communications, setting meeting agendas, and taking notes.

          31.   Hancq took over Plaintiff’s marketing project management duties.

          32.   Defendants told Plaintiff to stop handling communications management

duties, which included writing press releases, managing the company’s outside public

relations firm, and writing copy for sales materials and social media.

          33.   Hancq took over Plaintiff’s communications management duties.

          34.   Defendants told Plaintiff to stop managing point-of-sale inventory and

orders.

          35.   Hancq took over Plaintiff’s point-of-sale inventory and order duties.

          36.   Defendants told Plaintiff to stop handling social media duties. Plaintiff

was also instructed to provide Hancq with the social medial strategy that she had




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developed for the company.

       37.     On or about September 3, 2019, Plaintiff complained to Hancq about “the

significant reduction in my workload and responsibilities over the past two months”.

       38.     As Hancq was aware, Plaintiff’s reference to “the past two months” was

about when she informed Defendants of her pregnancy.

       39.     Plaintiff followed up with Hancq as he did not respond to her email.

       40.     Hancq did not respond to Plaintiff’s second email complaining about the

treatment to which she had been subjected for the past two (2) months (since she advised

Defendants of her pregnancy). When Plaintiff tried to talk to Hancq about the same, he

brushed her off and refused to engage with her.

       41.     On or about September 5, 2019, Defendants terminated Plaintiff’s

employment.

       42.     Prichett told Plaintiff that the reason for her termination was that her

position was eliminated for financial reasons and that it was not due to any fault of her

own.

       43.     Defendants’ stated reasons for terminating Plaintiff’s employment are

pretextual.

       44.     Corporate Defendant’s demographics evidenced a bias against females,

evidence of which is included below.

       45.     Of the employees in the Marketing Department, Plaintiff was the only

woman.

       46.     While terminating Plaintiff, Defendants retained three (3) Marketing

employees, including Hancq, two (2) of whom were less tenured and less experienced




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than Plaintiff was.

       47.     Plaintiff was qualified to perform responsibilities that were performed by

the male employees in the Marketing Department whom Defendants retained.

       48.     When Plaintiff returned from her (first) maternity leave in 2017, Corporate

Defendant had removed certain of her responsibilities and assigned them to male

employees, including one of her direct reports.

       49.     Corporate Defendant has an underrepresentation of female employees,

particularly in high-level positions. By way of example only, and to Plaintiff’s

information and belief, only about four (4) out of Corporate Defendant’s approximately

fifteen (15) management positions were held by female employees; all of Corporate

Defendant’s Board members were male; and, Corporate Defendant’s upper management

team was entirely male.

       50.     Plaintiff’s sex, including her pregnancy, was a motivating and/or

determinative factor in Defendants’ discriminatory treatment of Plaintiff, including

terminating her employment.

       51.     Plaintiff’s complaint about Defendants’ discriminatory conduct was a

motivating and/or determinative factor in Defendants’ retaliatory treatment of Plaintiff,

including terminating her employment.

       52.     Defendants failed to prevent or address the sex discriminatory and

retaliatory conduct referred to herein and further failed to take corrective and remedial

measures to make the workplace free of sex discriminatory and retaliatory conduct.

       53.     The retaliatory action taken against Plaintiff after she complained of

discriminatory conduct would have discouraged a reasonable employee from




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complaining of discrimination.

        54.     As a direct and proximate result of the sex discriminatory and retaliatory

conduct of Defendants, Plaintiff has in the past incurred, and may in the future incur, a

loss of earnings and/or earning capacity, loss of benefits, pain and suffering,

embarrassment, humiliation, loss of self-esteem, mental anguish, and loss of life’s

pleasures, the full extent of which is not known at this time.

        55.     Defendants acted with malice, reckless indifference, and/or deliberate

indifference to Plaintiff’s protected rights.

                                      COUNT I - Title VII

        56.     Plaintiff incorporates herein by reference paragraphs 1 through 55 above,

as if set forth herein in their entirety.

        57.    By committing the foregoing acts of discrimination and retaliation against

Plaintiff, Corporate Defendant has violated Title VII.

        58.     Said violations were done with malice and/or reckless indifference.

        59.     As a direct and proximate result of Corporate Defendant’s violation of

Title VII, Plaintiff has suffered the damages and losses set forth herein and has incurred

attorneys’ fees and costs.

        60.     Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Corporate Defendant’s discriminatory and retaliatory

acts unless and until this Court grants the relief requested herein.

        61.     No previous application has been made for the relief requested herein.




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                        COUNT II – PHRA (Corporate Defendant)

        62.    Plaintiff incorporates herein by reference paragraphs 1 through 61 above,

as if set forth herein in their entirety.

        63.    Corporate Defendant, by the above improper and discriminatory and

retaliatory acts, has violated the PHRA.

        64.    Said violations were intentional and willful.

        65.    As a direct and proximate result of Corporate Defendant’s violation of the

PHRA, Plaintiff has sustained the injuries, damages, and losses set forth herein and has

incurred attorneys’ fees and costs.

        66.    Plaintiff is now suffering and will continue to suffer irreparable injuries

and monetary damages as a result of Corporate Defendant’s discriminatory and

retaliatory acts unless and until the Court grants the relief requested herein.

        67.   No previous application has been made for the relief requested herein.

                         COUNT III – PHRA (Defendant Prichett)

        68.     Plaintiff incorporates by reference paragraphs 1 through 67, above, as if

set forth fully and at length herein.

        69.     Defendant Prichett aided, abetted, incited, compelled, and/or coerced the

commission by Corporate Defendant of the discriminatory and retaliatory treatment to

which Plaintiff was subjected.

        70.     Defendant Prichett participated in and/or compelled the decision by

Corporate Defendant to terminate Plaintiff’s employment in violation of the PHRA.

        71.     Defendant Prichett is personally liable to Plaintiff under the PHRA.




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        72.     As a direct and proximate result of Defendant Prichett's violations of the

PHRA, Plaintiff has suffered and will suffer those damages and losses set forth herein.

        73.     As a direct and proximate result of Defendant Prichett’s violations of the

PHRA, Plaintiff has suffered the damages and losses set forth herein and has incurred

attorneys’ fees and costs.

        74.     As a direct and proximate result of Defendant Prichett’s violations of the

PHRA, Plaintiff has suffered and will suffer irreparable harm, as a result of which

Plaintiff is entitled to equitable and/or injunctive relief.

        75.     No previous application has been made for the relief requested herein by

Plaintiff.

                        COUNT IV – PFPO (Corporate Defendant)

        76.     Plaintiff incorporates herein by reference paragraphs 1 through 75 above,

as if set forth herein in their entirety.

        77.     Corporate Defendant, by the above improper and discriminatory and

retaliatory acts, has violated the PFPO.

        78.     Said violations were intentional and willful.

        79.     As a direct and proximate result of Corporate Defendant’s violation of the

PFPO, Plaintiff has sustained the injuries, damages, and losses set forth herein and has

incurred attorney’s fees and costs.

        80.     Plaintiff is now suffering and will continue to suffer irreparable injuries

and monetary damages as a result of Corporate Defendant’s discriminatory and

retaliatory acts unless and until the Court grants the relief requested herein.

        81.     No previous application has been made for the relief requested herein.




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                         COUNT V – PFPO (Defendant Prichett)

        82.     Plaintiff incorporates by reference paragraphs 1 through 81, above, as if

set forth fully and at length herein.

        83.     Defendant Prichett aided, abetted, incited, compelled, and/or coerced the

commission by Corporate Defendant of the discriminatory and retaliatory treatment to

which Plaintiff was subjected.

        84.     Defendant Prichett participated in and/or compelled the decision by

Corporate Defendant to terminate Plaintiff’s employment in violation of the PFPO.

        85.     Defendant Prichett is personally liable to Plaintiff under the PFPO.

        86.     As a direct and proximate result of Defendant Prichett's violations of the

PFPO, Plaintiff has suffered and will suffer those damages and losses set forth herein.

        87.     As a direct and proximate result of Defendant Prichett’s violations of the

PFPO, Plaintiff has suffered the damages and losses set forth herein and has incurred

attorneys’ fees and costs.

        88.     As a direct and proximate result of Defendant Prichett’s violations of the

PHRA, Plaintiff has suffered and will suffer irreparable harm, as a result of which

Plaintiff is entitled to equitable and/or injunctive relief.

        89.     No previous application has been made for the relief requested herein by

Plaintiff.




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                                           RELIEF

        WHEREFORE, Plaintiff seeks damages and legal and equitable relief in

connection with Defendants’ improper conduct, and specifically prays that the Court

grant the following relief to the Plaintiff by:

        (a)     declaring the acts and practices complained of herein to be

in violation of Title VII;

        (b)     declaring the acts and practices complained of herein to be

in violation of the PHRA;

        (c)     declaring the acts and practices complained of herein to be in violation of

the PFPO;

        (d)     enjoining and permanently restraining the violations alleged herein;

        (e)     entering judgment against the Defendants and in favor of the Plaintiff in

an amount to be determined;

        (f)     awarding compensatory damages to make the Plaintiff whole for all lost

earnings, earning capacity, and benefits, past and future, which Plaintiff has suffered or

may suffer as a result of Defendants’ improper conduct;

        (g)     awarding compensatory damages to Plaintiff for past and future pain and

suffering, emotional upset, mental anguish, humiliation, and loss of life’s pleasures,

which Plaintiff has suffered or may suffer as a result of Defendants’ improper conduct;

        (h)     awarding punitive damages to Plaintiff under Title VII;

        (i)     awarding Plaintiff such other damages as are appropriate under Title VII,

the PHRA, and the PFPO;




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       (j)     awarding Plaintiff the costs of suit, expert fees, and other disbursements,

and reasonable attorneys’ fees; and,

       (k)     granting such other and further relief as this Court may deem just, proper,

or equitable including other equitable and injunctive relief providing restitution for past

violations and preventing future violations.



                                                CONSOLE MATTIACCI LAW, LLC



Dated: May 5, 2021                     BY:      ____________________________
                                                Caren N. Gurmankin (205900)
                                                1525 Locust Street, 9th Floor
                                                Philadelphia, PA 19102
                                                (215) 545-7676

                                                Attorney for Plaintiff,
                                                Gina Vasoli




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                 Exhibit “2”
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EEOC Form 161 (11/2020)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Gina M. Vasoli                                                                 From:     Philadelphia District Office
                                                                                                801 Market Street
       Philadelphia, PA 19128                                                                   Suite 1000
                                                                                                Philadelphia, PA 19107

                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                 EEOC Representative                                                    Telephone No.

                                                Kurt Jung
17F-2020-60885                                  State, Local & Tribal Program Manager                                  (267) 589-9749
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
                 The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.
       X         The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)

                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission


                                                                                                                            02/08/2021

Enclosures(s)                                                                                                                  (Date Issued)
                                                                 Jamie R. Williamson
                                                                   District Director
cc:        YARDS BREWING COMPANY

           Caren Gurmankin, Esq.                                                     Rufus A. Jennings, Esq.
           Console Mattiacci Law                                                     Deasey, Mahoney & Valentini, Ltd.
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